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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 United States of America,

                             Plaintiff,    Case No. 14-20425

 v.                                        Judith E. Levy
                                           United States District Judge
 Jesus Rodriguez,
                                           Mag. Judge David R. Grand
                             Defendant.

 ________________________________/

      ORDER DENYING WITHOUT PREJUDICE DEFENDANT’S
         MOTION FOR COMPASSIONATE RELEASE [491]

       This case is before the Court on Defendant Jesus Rodriguez’s

October 7, 20201 request for information about compassionate release,

which the Court interprets as a motion for compassionate release

pursuant to 18 U.S.C § 3582(c)(1)(A). (ECF No. 491.)

       Defendant indicates that he does not have a “health issue,” but that

his father has recently passed away from cancer. (ECF No. 491,

PageID.2713.) Defendant also indicates that his mother suffers from

hypertension and a “hole in her heart.” (Id. at PageID.2714.) Defendant



       1   Docketed on October 29, 2020.
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asks what he “ha[s] to do to get a compassionate release and also get it

granted so I can get home to my family.” (Id.)

      The Court extends its deepest sympathies to Defendant for his loss.

Defendant’s motion is denied without prejudice for the two reasons below,

but Defendant is free to file a renewed compassionate release motion

should he follow the proper procedure and provide justifications for

compassionate release.

      First, Defendant’s motion did not indicate whether he had applied

for compassionate release from the Bureau of Prisons (BOP), and if so,

whether 30 days had elapsed since the request or whether he had been

denied and then exhausted his administrative appeals. The Court may

not consider compassionate release motions unless Defendant first meets

one of these two statutory conditions. United States v. Alam, No. 20-1298,

2020 WL 2845694, at *5 (6th Cir. June 2, 2020).

      Second, Defendant has not provided the Court with sufficient

information to evaluate his motion. The compassionate release statute

allows the Court to modify a defendant’s term of imprisonment if

“extraordinary and compelling reasons warrant such a reduction.” 18

U.S.C. § 3582(c)(1)(A)(i). The United States Sentencing Guidelines define
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“extraordinary and compelling reasons” as “suffering from a serious

physical or medical condition . . . that substantially diminishes the ability

of the defendant to provide self-care within the environment of a

correctional facility and from which he or she is not expected to recover.”

U.S.S.G. § 1B1.13 n.1(A). Alternatively, “extraordinary and compelling

reasons” can also encompass “family circumstances,” defined as “[t]he

death or incapacitation of the caregiver of the defendant’s minor child or

minor children” or “incapacitation of the defendant’s spouse or registered

partner when the defendant would be the only available caregiver for the

spouse or registered partner.” Id. at n.1(C). Finally, “extraordinary and

compelling reasons” can also consist of “other reasons” clearly explained

by the defendant. Id. at n.1(D). Because Defendant’s motion does not

explain why his circumstances entitle him to compassionate release

under any of these categories, the Court has insufficient information to

evaluate his motion.

      Accordingly,     Defendant’s    motion    is   DENIED      WITHOUT

PREJUDICE. Defendant may renew his motion after following the

administrative procedures as described above and should extraordinary

and compelling reasons arise.
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      IT IS SO ORDERED.

Dated: November 2, 2020                  s/Judith E. Levy
Ann Arbor, Michigan                      JUDITH E. LEVY
                                         United States District Judge

                     CERTIFICATE OF SERVICE
      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s
ECF System to their respective email or First Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on November 2, 2020.
                                         s/William Barkholz
                                         WILLIAM BARKHOLZ
                                         Case Manager
